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                                                                    Wednesday, 23 March, 2022 10:03:06 AM
                                                                             Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

AARON O’NEAL,                                 )
                                              )
       Plaintiff,                             )
                                              )
                               vs.            )       Case No. 18-cv-4063-SEM-TSH
                                              )
JOHN BALDWIN, et al.,                         )
                                              )
       Defendants                             )

         DEFENDANTS’ RESPONSES TO PLAINTIFF’S MOTIONS IN LIMINE

       NOW COME the Defendants, JOHN BALDWIN, STEPHANIE DORETHY, JOHN

FROST, STEVE GANS, MELISSA PELKER, and, MANUEL ROJAS, by and through their

attorney, Kwame Raoul, Attorney General of the State of Illinois, and hereby respond to Plaintiff’s

Motions in Limine, stating as follows:

                                           Introduction

       The Plaintiff, Aaron O’Neal, filed this action pursuant to 42 U.S.C. §1983 for alleged

violations of his rights guaranteed him by the United States Constitution. (Doc. 1). Plaintiff’s

claims relate to; (1) whether Defendant Rojas retaliated against Plaintiff, (2) whether all named

Defendants barred him from meatless meals on Friday during Lent, and (3) whether all named

Defendants granted inmates of other religions a religious diet, but not the Plaintiff.

For the reasons argues below, Plaintiff’s motions in limine 1, 2, 3, and 4 should be denied.

I.     Plaintiff’s motion in limine number 1 should be denied.

       Plaintiff’s motion in limine should be denied to the extent that Defendants may refer to the

fact that Plaintiff has been convicted of felonies in accordance with the Federal Rules of Evidence.
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         Evidence related to impeachment by conviction is probative and can assist the jury in

assessing witness credibility. United States v. Neely, 980 F2d. 1074, 1080 (7th Cir. 1992). Further,

there is a presumption in favor of admitting such evidence. Fed. R. Evid. 609(a)(1)(A).

         Plaintiff admits that he has seven criminal convictions, each of which are felonies. (Doc.

102, pp. 5-6). Evidence that Plaintiff and his witness have been convicted of felonies should be

allowed because Plaintiff has failed to demonstrate that evidence of these convictions is

inadmissible for any purpose. United States v. Lillie, 669 F. Supp. 2d 903, 905 (N.D. Ill. 2009).

Moreover, the prejudicial effect of this evidence is not substantially outweighed by its probative

value. Fed. R. Evid. 403. In looking at whether Rule 403 is met by unfair prejudice that

substantially outweighs probative value, not all crimes meet the burden for exclusion. Jones v.

Sheahan, 2003 WL 21654279 at *5 (N.D. Ill. July 14, 2003) (something more than a general

negative impression is needed to tip the balance in favor of exclusion). Plaintiff’s credibility is

directly at issue in this case as his own testimony regarding the events of this suit are his evidence,

and Congress has determined that evidence of prior felony convictions bears on witness credibility.

When allowing the use of a conviction to impeach credibility, the courts have restricted the facts

admitted to the crime charged and the date and the disposition (guilty or not guilty). Charles v.

Cotter, 867 F. Supp. 648, 656 (N.D. Ill. 1994), citing Campbell v. Greer, 831 F.2d 700 (7th Cir.

1987).

         Therefore, this Court should deny Plaintiff’s motion in limine number 1, and Defendants

should be permitted to introduce the prior convictions of Plaintiff that fall within Rule 609 in a

manner that does not diminish them but also does not exceed the bounds set forth in prior cases.

II.      Plaintiff’s motion in limine number 2 should be denied.

         Plaintiff’s motion in limine should be denied to the extent that Defendants may refer to the
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fact that any individual in custody that is called as a witness has been convicted of a felony.

          Defendants incorporate the same arguments regarding each of the criminal convictions for

a felony for each of the individual in custody witnesses, as each has been convicted of a felony.

Evidence related to impeachment by conviction is probative and can assist the jury in assessing

witness credibility. United States v. Neely, 980 F2d. 1074, 1080 (7th Cir. 1992). Further, there is

a presumption in favor of admitting such evidence. Fed. R. Evid. 609(a)(1)(A).

          Each of Plaintiff’s witnesses that are individuals in custody have been convicted of at least

one felony. Evidence that Plaintiff’s witness have been convicted of felonies should be allowed

because Plaintiff has failed to demonstrate that evidence of these convictions is inadmissible for

any purpose. United States v. Lillie, 669 F. Supp. 2d 903, 905 (N.D. Ill. 2009). Moreover, the

prejudicial effect of this evidence is not substantially outweighed by its probative value. Fed. R.

Evid. 403. In looking at whether Rule 403 is met by unfair prejudice that substantially outweighs

probative value, not all crimes meet the burden for exclusion. Jones v. Sheahan, 2003 WL

21654279 at *5 (N.D. Ill. July 14, 2003) (something more than a general negative impression is

needed to tip the balance in favor of exclusion). Plaintiff’s witnesses’ credibility is directly at issue

in this case as their testimony regarding the events of this suit are part of his evidence, and

Congress has determined that evidence of prior felony convictions bears on witness credibility.

When allowing the use of a conviction to impeach credibility, the courts have restricted the facts

admitted to the crime charged and the date and the disposition (guilty or not guilty). Charles v.

Cotter, 867 F. Supp. 648, 656 (N.D. Ill. 1994), citing Campbell v. Greer, 831 F.2d 700 (7th Cir.

1987).

III.      Plaintiff’s motion in limine number 3 should be denied.

       In his motion in limine number 3, Plaintiff seeks to exclude any reference to his disciplinary
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history while in the Illinois Department of Corrections. Specifically, Plaintiff seeks to bar all

mention of any of Plaintiff’s disciplinary history by the Defendants.

       Defendants do not seek to introduce evidence that Plaintiff is violent or has a long

disciplinary record; nor have they sought to introduce the Plaintiff’s disciplinary history as an

exhibit on the parties’ joint final pretrial order. Defendants do not anticipate introducing testimony

or evidence of Plaintiff’s disciplinary history, unless Plaintiff makes mention of his disciplinary

history or lack thereof or if Plaintiff’s counsel elicits that information specifically from Defendants

on direct or cross-examination.

       Clearly if Plaintiff was to make any mention of his own disciplinary history, Plaintiff’s

arguments would be moot with regard to Federal Rule 401 as he would be opening the door to this

line of inquiry. The same would be accurate ifPlaintiff’s counsel asked about Plaintiff’s reputation

at the facility, clearly whether Plaintiff is consistently in trouble is relevant to an individual

providing this information. If either of these situations arise, witnesses should not be barred from

discussing how they came to form their opinions., especially if this information is elicited through

Plaintiff’s testimony or his counsel’s questions.

IV.    Plaintiff’s motion in limine 4 should be denied in part.

       Defendants have no objection to Plaintiff’s request that he wear civilian clothing for trial,

as long as the clothing is subject to search by IDOC security staff. Yet, the remainder of Plaintiff’s

requests in motion in limine 4 are overly broad and could interfere with IDOC’s security needs.

Plaintiff seeks removal of all of Plaintiff’s restraints. Typically, the Court will order the removal

of handcuffs, but leave on leg restraints. As long as the leg restraints are kept away from and out

of view of the jury, this ordinarily causes no prejudice to the inmate-plaintiff. Plaintiff also seeks

to mandate where IDOC employees may sit in relation to Plaintiff. The jury will be well aware
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that Plaintiff is an incarcerated individual and that Defendants are current or former IDOC

employees. The security staff escorting Plaintiff typically remain unobtrusive, and do not make

their presence known; however, they must be ready to act if there are any security issues related

to Plaintiff. Accordingly, Plaintiff’s motion in limine 4 should be denied in part.

       WHEREFORE, for the foregoing reasons, the Defendants pray this honorable Court deny

Plaintiff’s Motions in limine 1, 2, 3 and 4.

                                               Respectfully submitted,

                                               JOHN   BALDWIN,  FREDDIE    BRITTON,
                                               STEPHANIE DORETHY, JOHN FROST, STEVE
                                               GANS, MELISSA PELKER, and, MANUEL
                                               ROJAS,

                                                      Defendants,

                                               KWAME RAOUL, Attorney General,
                                               State of Illinois

Maria D. Gray, #6323981                               Attorney for Defendants,
Assistant Attorney General
500 South Second Street                        By: s/ Maria D. Gray
Springfield, IL 62701                                 Maria D. Gray
Phone: (217) 785-4555                                 Assistant Attorney General
Fax: (217) 782-8767
Email: maria.gray@ilag.gov
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                                             )
JOHN BALDWIN, et al.,                        )
                                             )
       Defendants                            )

                                CERTIFICATE OF SERVICE

       I hereby certify that on March 23, 2022, the foregoing document, Defendants’ Response to
Plaintiff’s Motion in Limine was electronically filed with the Clerk of the court using the CM/ECF
system which will send notification of such filing to the following:
               Reede Neutze                  aneutze2@illinois.edu
               Stephen Beemsterboer          smb9@illinois.edu

and I hereby certify that on the same date, I caused a copy of the foregoing document to be mailed
by United States Postal Service, to the following non-registered participant:

                                              NONE



                                             By: /s/ Maria D. Gray
                                                  Maria D. Gray #6323981
                                                  Assistant Attorney General
                                                  500 South Second Street
                                                  Springfield, Illinois 62701
                                                  (217) 782-9026 Phone
                                                  (217) 524-5091 Fax
                                                  Email: Maria.Gray@ilag.gov
